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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

MARIE JOSEPH,                                           Case No.: 1:16-cv-465

       Plaintiff,                                       Judge Timothy S. Black
v.

RONALD JOSEPH,

       Defendant.


           JUDGMENT FOR DEFENDANT AND AGAINST PLAINTIFF

       The Jury having returned its verdict on 10/24/18, finding against Plaintiff on all

her claims, and the Court having denied Plaintiff’s renewed motion for judgment as a

matter of law and for new trial, pursuant to Rule 54 of the Federal Rules of Civil

Procedure, the Court hereby enters Judgment for Defendant and against Plaintiff.

       This Judgment is a final, appealable order, the Court having expressly determined

that there is no just reason for delay.

       IT IS SO ORDERED.

Date: March 18, 2019
                                                            Timothy S. Black
                                                            United States District Judge
